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 1                                                             Hon. Richard A. Jones
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 4
                         UNITED STATES DISTRICT COURT
 5                      WESTERN DISTRICT OF WASHINGTON
                                  AT SEATTLE
 6

 7   RONDEVOO TECHNOLOGIES, LLC,                   No. C18-1692 RAJ
 8                        Plaintiff(s),
                                                   STANDING ORDER FOR
 9          v.                                     CIVIL CASES ASSIGNED TO
                                                   JUDGE RICHARD A. JONES
10   WACOM TECHNOLOGY SERVICES                     (Last Revised April 10, 2018)
11   CORPORATION,

12                        Defendant(s).

13
                              READ THIS ORDER CAREFULLY.
14                        IT CONTROLS THIS CASE AND DIFFERS
                      IN SOME RESPECTS FROM THE LOCAL RULES.
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        • Failure to comply with this Order may result in sanctions. Filings not in
17         compliance with this Order may be stricken. The Local Rules and Federal
18         Rules of Civil Procedure control any issue not specifically addressed in this
19         Order. The Court thanks counsel and the parties for their anticipated
20         cooperation. Counsel are advised to check the Court’s procedures regularly,
21         as they are subject to change.
22      • Plaintiff(s) must immediately serve this Order on all Defendant(s) along with
23         the Summons and Complaint.

24      • If this case was assigned to this Court after being removed from state court,

25         the Defendant(s) who removed the case must serve this Order on all other
           parties.
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     STANDING ORDER FOR CIVIL CASES
     ASSIGNED TO JUDGE RICHARD A. JONES – 1
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 1         This case has been assigned to Judge Richard A. Jones. To secure the just,
 2   speedy, and inexpensive determination of this action, counsel are ordered to
 3   familiarize themselves with the Federal Rules of Civil Procedure (“Fed. R. Civ. P.”)
 4   and the Local Rules (“L.R.”) of the Western District of Washington.

 5      1. Mandatory Courtesy Copies for Chambers: Mandatory courtesy copies are
 6         required for ALL e-filed motions, responses, replies, and surreplies, and all
 7         supporting documentation relating to opposed motions, responses, replies,
 8         and surreplies, regardless of page length.
 9      2. Proposed Orders: Pursuant to this District’s Electronic Filing Procedures
10         for Civil and Criminal Cases, for all opposed motions a proposed order shall
11         be attached as a Word-compatible file to an email sent to
12         jonesorders@wawd.uscourts.gov.
13      3. Service of Pleadings: Plaintiff must promptly serve the Complaint in
14         accordance with Fed. R. Civ. P. 4 and file proof of service. Any defendant not
15         timely served will be dismissed from the action. Any “Doe” or fictitiously
16         named defendant who is not identified and served within 90 days after the
17         case is filed will be dismissed pursuant to Fed. R. Civ. P. 4(m).
18      4. Temporary Restraining Orders and Injunctions: Parties seeking
19         emergency or provisional relief must comply with Fed. R. Civ. P. 65 and
20         L.R. 65.
21      5. Actions Invoking Subject Matter Jurisdiction Based on Diversity: The
22         burden of persuasion for establishing diversity jurisdiction rests on the party
23         asserting it and must be supported by competent proof. To determine a
24         corporation’s “principal place of business” for the purposes of diversity
25         jurisdiction, the Court will apply the “nerve center” test, which was adopted
26         by the U.S. Supreme Court in Hertz Corp. v. Friend, 559 U.S. 77 (2010).

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 1         The “nerve center” test looks to the single location where the “corporation’s
 2         high level officers direct, control, and coordinate the corporation’s activities.”
 3         Id. at 80. The “nerve center” will typically be the corporation’s headquarters,
 4         provided that the headquarters is the actual center of direction, control, and
 5         coordination, and not simply an office where the corporation holds its board
 6         meetings. Id. at 81. Further, the court reminds plaintiffs that they must allege
 7         the citizenship of each owner/member of any defendant that is a limited
 8         liability company. See Johnson v. Columbia Props. Anchorage, LP, 437 F.3d
 9         894, 899 (9th Cir. 2006) (“We therefore join our sister circuits and hold that,
10         like a partnership, an LLC is a citizen of every state of which its
11         owners/members are citizens.”). If a party seeks to remove an action to this
12         Court on the basis of diversity in a case where it is not clear from the
13         Complaint that more than $75,000 is in controversy, the removing party must
14         prove by a preponderance of the evidence that the amount in controversy
15         meets the jurisdictional threshold. Matheson v. Progressive Specialty Ins.
16         Co., 319 F.3d 1089, 1090 (9th Cir. 2003). The Court will consider facts
17         presented in the removal petition as well as any summary-judgment-type
18         evidence relevant to the amount in controversy at time of removal. Id.
19         Conclusory allegations as to the amount in controversy are insufficient. Id.
20         Parties must file an Amended Complaint or Amended Notice of Removal
21         within fifteen days from the date the action is assigned to Judge Jones if
22         there is a doubt as to whether they have established the citizenship of the
23         parties or whether they have established the amount in controversy. Failure
24         to comply may result in dismissal or remand.
25         ///
26         ///


     STANDING ORDER FOR CIVIL CASES
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 1      6. Meet and Confer Requirement: For all cases, except applications for
 2         temporary restraining orders, counsel contemplating the filing of any motion
 3         shall first contact opposing counsel to discuss thoroughly, preferably in
 4         person, the substance of the contemplated motion and any potential
 5         resolution. The Court construes this requirement strictly. Half-hearted
 6         attempts at compliance with this rule will not satisfy counsel’s obligation.
 7         The parties must discuss the substantive grounds for the motion and attempt
 8         to reach an accord that would eliminate the need for the motion. The Court
 9         strongly emphasizes that discussions of the substance of contemplated
10         motions are to take place, if at all possible, in person. All motions must
11         include a declaration by counsel briefly describing the parties’ discussion and
12         attempt to eliminate the need for the motion and the date of such discussion.
13         Filings not in compliance with this rule may be stricken.
14      7. Applications to Seal Documents: It is the Court, not the parties, that
15         determines whether a document can be filed under seal. The Court will only
16         permit filings under seal if the party seeking to seal the information
17         demonstrates why the public’s traditional right of access to court documents
18         and the public policies favoring disclosure are outweighed by good cause (if
19         the motion is not case-dispositive) or compelling reasons (if the motion is
20         case-dispositive or the information is included in the operative complaint)
21         that support keeping the information under seal. The fact that a party has
22         designated a particular document “Confidential” is not sufficient to convince
23         the Court that good cause or compelling reasons exist to seal that document.
24      8. Attorney’s Fees Motions: All motions seeking attorney’s fees must be
25         accompanied by an appropriate declaration that attaches all relevant
26         timesheets and costs.


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 1      9. Discovery and Initial Disclosures: The parties shall not file initial
 2         disclosures and other discovery on the court’s docket, unless such discovery
 3         is the subject of a motion.
 4      10. Legal Citations: All motions, oppositions, and replies must be supported by
 5         relevant legal authority. Citations should be in Blue Book format and must
 6         be included in the body of the briefing – the Court does not allow citations in
 7         footnotes or endnotes.
 8      11. Searchable PDFs: All documents filed electronically must be submitted in
 9         PDF format to permit text searches and to facilitate transmission and
10         retrieval. Before these documents are electronically filed, the CM/ECF User
11         shall convert the documents to PDF format. These documents may not be
12         scanned.
13

14         DATED: November 26, 2018.
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                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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     STANDING ORDER FOR CIVIL CASES
     ASSIGNED TO JUDGE RICHARD A. JONES – 5
